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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                                       Criminal Minutes


 Date: September 12, 2022                                           Judge: Hon. James Donato

 Court Reporter: Marla Knox

 Time: 1 Hour & 3 Minutes
 Case No.      3:20-cr-00108-JD-1 USA v. Mark Django Hicks
 Case Name     4:13-cr-00079-JD-1 USA v. Mark Django Hicks

 Attorney(s) for Government:    David Ward
 Attorney(s) for Defendant(s): Edwin Prather
 Probation Officer: Denise Mancia/Kevin Thomas

 Deputy Clerk: Lisa Clark

                                        PROCEEDINGS

Sentencing Hearing -- Held

                                    NOTES AND ORDERS

Defendant is sentenced to 87 months custody: 53 months for Counts One, Three, and Thirteen of
Case No. 20-108, to be served concurrently, 24 months for Count Twenty-One of Case No. 20-
108 to be served consecutively to all other counts, and 10 months for the supervised release
violation of Case No. 13-0079. Following the term of custody, defendant is sentenced to 3 years
supervised release for Counts One, Three, and Thirteen of Case No. 20-108 and 1 year
supervised release for Count Twenty-One of Case No. 20-108, all terms to be served
concurrently. The Court imposes a $400 special assessment, restitution in the amount of
$1,904,988.79, and orders forfeiture as agreed in the plea agreement, Dkt. No. 289.

$250,640.93 restitution remains imposed from Case No. 13-0079.

The Court recommends to the BOP that defendant participate in RDAP while in custody.

The government’s request to dismiss the remaining charges against defendant is granted.

Defendant’s request for voluntary surrender is granted, and a separate order will be filed. The
Court recommends that the defendant serve his sentence at FMC Rochester in Minnesota under
Care Level 4 based on his medical needs.


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